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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 13-0314CCC
 1) RAFAEL CAMILO-ABREU
 2) LEONEL CASTILLO
 3) RAY LAUREANO-GIL
 4) RAMON CAPELLAN
 5) EDGARDO JAVIER VELEZ-SALDAÑA
 6) JUAN CARLOS QUIÑONES-VELEZ
 Defendants


                                          ORDER

       Having considered the Report and Recommendation filed on December 11, 2013
(docket entry 124) on a Rule 11 proceeding of defendant Juan Carlos Quiñones-Vélez (6)
before U.S. Magistrate Judge Bruce J. McGiverin on December 9, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since December 9, 2013.         The sentencing hearing is set for
March 11, 2014 at 4:15 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
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be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on February 3, 2014.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
